3:18-cv-03191-SEM-KLM # 33-2   Filed: 04/30/19    Page 1 of 2
                                                                            E-FILED
                                                 Tuesday, 30 April, 2019 05:05:11 PM
                                                       Clerk, U.S. District Court, ILCD




                EXHIBIT B
                              3:18-cv-03191-SEM-KLM # 33-2                     Filed: 04/30/19      Page 2 of 2


Malloy, Emily N.

From:                                           Wasdin, Nick
Sent:                                           Tuesday, April 30, 2019 12:09 PM
To:                                             Ankney, Clayton
Cc:                                             Fowkes, Scott W.; Sharkey, Christina E.; Burns, Cassie; Gonyou, Shannon L.; Malloy,
                                                Emily N.; Alan Mills; Liz Mazur; Nicole Schult
Subject:                                        Doe v. Macleod, et al., Case No. 3:18-cv-3191


Clayton,

The Court recently granted plaintiff’s requested extension of time to file an amended complaint. In light of that order,
we intend to seek leave to amend the complaint later this afternoon. The amended complaint will add 22 defendants,
including IDOC/Logan personnel with relevant responsibility under the Prison Rape Elimination Act. Can you please let
me know by 4pm today whether or not you object to plaintiff’s request for leave to amend?

Separately, we still have not received defendants responses to the discovery requests plaintiff served on February 4,
2019. Those are past due. Unless defendants’ responses are presently in the mail, or you can provide a firm
commitment that you will email them to us by the end of the week, we will have no choice but to file a motion to
compel.

Nick

Nicholas F. Wasdin
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KIRKLAND & ELLIS LLP
300 North LaSalle, Chicago, IL 60654
T +1 312 862 3254 F +1 312 862 2000
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nick.wasdin@kirkland.com




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